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   IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

         MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA           )
                                   )
    v.                             )     CRIMINAL ACTION NO.
                                   )        2:94cr62-T
DONALD MINEFIELD                   )            (WO)

                                 ORDER

    After an independent and de novo review of the record,

it is ORDERED as follows:

    (1) Defendant Donald Minefield’s objections (Doc. No.

           1853) are denied.

    (2) The United States Magistrate Judge’s recommendation

           (Doc. No. 1849) is adopted.

    (3) Defendant       Minefield’s      petition     for    return      of

           property (Doc. No. 1817) is denied.

    DONE, this the 18th day of July, 2005.



                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
